                          Case 1:21-mj-06204-MPK
2-6   5HYLVHG86'&0$            Document 4-3 Filed 03/22/21 Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.        I                      Investigating Agency        HSI

City      Boston                                 Related Case Information:

County       Suffolk                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                  6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU
                                                  6HDUFK:DUUDQW&DVH1XPEHU               21-6023-MPK (6024, 6025, 6026
                                                  55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         Florence Mwende Musau                                  -XYHQLOH                 G <HV G
                                                                                                               ✔ 1R

                                                                                                                   ✔
                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDUG<HVG1R
$OLDV1DPH             a/k/a Precious Adams, a/k/a Catherine Muthoki
$GGUHVV                 &LW\ 6WDWH 32 Neponset Street, Apartment 1206, Canton, Massachusetts, 02021
                      1984
%LUWKGDWH <URQO\ BBBBB661          N/A
                                  ODVW BBBBBBBB     M
                                                   6H[BBBBB            5DFHBBBBBBBBBBB                         Kenya
                                                                                                    1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                           $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         Ian Stearns                                             %DU1XPEHULIDSSOLFDEOH        693374

Interpreter:            G <HV       ✔ 1R
                                    G                      /LVWODQJXDJHDQGRUGLDOHFW

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G              ✔ <HV
                                                                                                                G           1R

Matter to be SEALED:                ✔
                                    G <HV        G      1R

           ✔
          G:DUUDQW5HTXHVWHG                      G5HJXODU3URFHVV                       G,Q&XVWRG\

Location Status:

Arrest Date                 03/25/2021

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                      
G $OUHDG\LQ6WDWH&XVWRG\DW                                     G6HUYLQJ6HQWHQFH         G$ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH        2UGHUHGE\                                           RQ

Charging Document:                  ✔
                                    G&RPSODLQW               G,QIRUPDWLRQ                   G,QGLFWPHQW
                                                                                                                   1
Total # of Counts:                  G3HWW\                  G0LVGHPHDQRU                   ✔
                                                                                                    G)HORQ\

                                         &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH March 19, 2021                      6LJQDWXUHRI$86$ /s/ Ian Stearns
                         Case 1:21-mj-06204-MPK Document 4-3 Filed 03/22/21 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Florence Mwende Musau

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged       Count Numbers
                                                        Conspiracy to commit wire and bank fraud
6HW     18 U.S.C. § 1349                                                                              1


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
